                                      Case 12-30840-JKO                          Doc 1          Filed 08/30/12                    Page 1 of 40
B1 (Official Form 1) (12/11)
                                                 United States Bankruptcy Court
                                                SOUTHERN DISTRICT OF FLORIDA                                                                                     Voluntary Petition
                                                  FORT LAUDERDALE DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Montiel, Rigoberto R

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
aka Rigoberto Raul Montiel



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-9993                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
1504 N 24 Ave
Hollywood, FL
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            33020
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Broward
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
1504 N. 24 Ave
Hollywood, FL
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            33020
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
                                                                                                             on 4/01/13 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
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                                    Case 12-30840-JKO                      Doc 1          Filed 08/30/12                Page 2 of 40
B1 (Official Form 1) (12/11)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Rigoberto R Montiel
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Patrick L. Cordero, Esq.                                       8/30/2012
                                                                                                 Patrick L. Cordero, Esq.                                              Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                    Case 12-30840-JKO                          Doc 1        Filed 08/30/12                Page 3 of 40
B1 (Official Form 1) (12/11)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Rigoberto R Montiel
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Rigoberto R Montiel
      Rigoberto R Montiel
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     8/30/2012
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Patrick L. Cordero, Esq.                                                          defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Patrick L. Cordero, Esq.                         Bar No. 801992                        have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Law Offices of Patrick L. Cordero, P.A.
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 198 NW 37th Avenue                                                                          given the debtor notice of the maximum amount before preparing any document
 Miami, FL 33125                                                                             for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (305) 445-4855
 Phone No.______________________        (305) 445-9483
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     8/30/2012
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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                          Case 12-30840-JKO              Doc 1       Filed 08/30/12          Page 4 of 40
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                FORT LAUDERDALE DIVISION
In re:   Rigoberto R Montiel                                                             Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                          Case 12-30840-JKO              Doc 1     Filed 08/30/12         Page 5 of 40
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                FORT LAUDERDALE DIVISION
In re:   Rigoberto R Montiel                                                          Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Rigoberto R Montiel
                       Rigoberto R Montiel

Date:        8/30/2012
                          Case 12-30840-JKO   Doc 1   Filed 08/30/12         Page 6 of 40
B6A (Official Form 6A) (12/07)



In re Rigoberto R Montiel                                               Case No.
                                                                                                              (if known)



                                     SCHEDULE A - REAL PROPERTY


                                                                                                           Current Value




                                                                                 Husband, Wife, Joint,
                                                                                                            of Debtor's
                   Description and                     Nature of Debtor's




                                                                                   or Community
                                                                                                             Interest in
                     Location of                      Interest in Property
                                                                                                         Property, Without    Amount Of
                      Property                                                                                               Secured Claim
                                                                                                          Deducting Any
                                                                                                          Secured Claim
                                                                                                           or Exemption


  None




                                                                             Total:                                 $0.00
                                                                             (Report also on Summary of Schedules)
                             Case 12-30840-JKO               Doc 1      Filed 08/30/12       Page 7 of 40
B6B (Official Form 6B) (12/07)




In re Rigoberto R Montiel                                                                Case No.
                                                                                                              (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                   Husband, Wife, Joint,
                                                                                                                                           Current Value of
                                                                                                                                           Debtor's Interest




                                                                                                                     or Community
                                                                                                                                              in Property,

                                          None
                                                                                                                                           Without Deducting
             Type of Property                                  Description and Location of Property                                          any Secured
                                                                                                                                                Claim or
                                                                                                                                               Exemption

1. Cash on hand.                                 Cash money                                                              -                          $20.00



2. Checking, savings or other finan-             Wachovia Checking Account No.: 0251                                     -                         $342.14
cial accounts, certificates of deposit
or shares in banks, savings and loan,            Wachovia Checking Account No.: 7785                                     -                       $1,800.99
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-           Rental Deposit: Debtor states he does not have any rental               -                           $0.00
ities, telephone companies, land-                deposit.
lords, and others.

4. Household goods and furnishings,              Furniture                                                               -                         $200.00
including audio, video and computer              Description: 1 Computer.
equipment.                                       Appliances
                                                 Description: Debtor states he does not have any
                                                 appliances.



5. Books; pictures and other art                 Decorations: Debtor states he does not have any decorative              -                           $0.00
objects; antiques; stamp, coin,                  items.
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Clothing                                                                -                          $50.00



7. Furs and jewelry.                             Jewelry                                                                 -                          $70.00
                                                 Description: 1 Watch, 1 Ring.


8. Firearms and sports, photo-            X
graphic, and other hobby equipment.
                              Case 12-30840-JKO    Doc 1       Filed 08/30/12       Page 8 of 40
B6B (Official Form 6B) (12/07) -- Cont.




In re Rigoberto R Montiel                                                       Case No.
                                                                                               (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                  Continuation Sheet No. 1




                                                                                                    Husband, Wife, Joint,
                                                                                                                            Current Value of
                                                                                                                            Debtor's Interest




                                                                                                      or Community
                                                                                                                               in Property,

                                           None
                                                                                                                            Without Deducting
             Type of Property                         Description and Location of Property                                    any Secured
                                                                                                                                 Claim or
                                                                                                                                Exemption


9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.
                              Case 12-30840-JKO     Doc 1       Filed 08/30/12       Page 9 of 40
B6B (Official Form 6B) (12/07) -- Cont.




In re Rigoberto R Montiel                                                        Case No.
                                                                                                (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                   Continuation Sheet No. 2




                                                                                                     Husband, Wife, Joint,
                                                                                                                             Current Value of
                                                                                                                             Debtor's Interest




                                                                                                       or Community
                                                                                                                                in Property,

                                            None
                                                                                                                             Without Deducting
             Type of Property                          Description and Location of Property                                    any Secured
                                                                                                                                  Claim or
                                                                                                                                 Exemption


18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.
                             Case 12-30840-JKO               Doc 1      Filed 08/30/12        Page 10 of 40
B6B (Official Form 6B) (12/07) -- Cont.




In re Rigoberto R Montiel                                                                 Case No.
                                                                                                                (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 3




                                                                                                                     Husband, Wife, Joint,
                                                                                                                                             Current Value of
                                                                                                                                             Debtor's Interest




                                                                                                                       or Community
                                                                                                                                                in Property,

                                           None
                                                                                                                                             Without Deducting
             Type of Property                                   Description and Location of Property                                           any Secured
                                                                                                                                                  Claim or
                                                                                                                                                 Exemption


25. Automobiles, trucks, trailers,                2005 Toyota Corolla                                                      -                       $2,195.32
and other vehicles and accessories.               "Current and Retained"
                                                  Vin No: 1NXBR32E55Z542621
                                                  Mileage: 145,276.00
                                                  Linholder: World Omni F
                                                  Amount Owed: $2,011.00
                                                  Nada Clean Retail Value: $8,075.00
                                                  Reconditioning Cost: $5,879.68
                                                  Current "AS-IS" Value: $2,195.32
                                                  Valuation obtained through private appraisal by Auto Check,
                                                  LLC



26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,        X
and supplies used in business.

30. Inventory.                             X

31. Animals.                               X

32. Crops - growing or harvested.          X
Give particulars.

33. Farming equipment and                  X
implements.

34. Farm supplies, chemicals, and          X
feed.
                             Case 12-30840-JKO               Doc 1       Filed 08/30/12           Page 11 of 40
B6B (Official Form 6B) (12/07) -- Cont.




In re Rigoberto R Montiel                                                                     Case No.
                                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

                                              None
                                                                                                                                                  Without Deducting
             Type of Property                                    Description and Location of Property                                               any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                            $4,678.45
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                              Case 12-30840-JKO               Doc 1        Filed 08/30/12           Page 12 of 40
B6C (Official Form 6C) (4/10)



In re Rigoberto R Montiel                                                                         Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $146,450.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                 Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                            Exemption
                                                                                                                                     Exemption



 Cash money                                               Fla. Const. art. X, § 4(a)(2)                             $20.00                  $20.00

 Wachovia Checking Account No.: 0251                      Fla. Stat. Ann. § 222.11(2)(b)                          $342.41                 $342.14

 Wachovia Checking Account No.: 7785                      Fla. Stat. Ann. § 222.25(4)                           $1,800.99               $1,800.99

 Furniture                                                Fla. Const. art. X, § 4(a)(2)                           $200.00                 $200.00
 Description: 1 Computer.

 Appliances
 Description: Debtor states he does not have
 any appliances.

 Clothing                                                 Fla. Const. art. X, § 4(a)(2)                             $50.00                  $50.00

 Jewelry                                                  Fla. Const. art. X, § 4(a)(2)                             $70.00                  $70.00
 Description: 1 Watch, 1 Ring.

 2005 Toyota Corolla                                      Fla. Stat. Ann. § 222.25(1)                           $1,000.00               $2,195.32
 "Current and Retained"
 Vin No: 1NXBR32E55Z542621
 Mileage: 145,276.00
 Linholder: World Omni F
 Amount Owed: $2,011.00
 Nada Clean Retail Value: $8,075.00
 Reconditioning Cost: $5,879.68
 Current "AS-IS" Value: $2,195.32
 Valuation obtained through private appraisal by
 Auto Check, LLC



* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                $3,483.40               $4,678.45
                          Case 12-30840-JKO                                           Doc 1          Filed 08/30/12         Page 13 of 40
B6D (Official Form 6D) (12/07)
          In re Rigoberto R Montiel                                                                                      Case No.
                                                                                                                                                      (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                    AMOUNT OF         UNSECURED




                                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                      CLAIM           PORTION, IF




                                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                      WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                    DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                        VALUE OF
                                                                                             PROPERTY SUBJECT                                    COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    02/2010
ACCT #: xxxxxxxxxxx0717                                                           NATURE OF LIEN:
                                                                                  Security Agreement
World Omni F                                                                      COLLATERAL:
                                                                                  2005 Toyota Corolla                                                $2,011.00
POB 91614                                                       -                 REMARKS:
Mobile, AL 36691                                                                  2005 Toyota Corolla
                                                                                  "Current and Retained"
                                                                                  Vin No: 1NXBR32E55Z542621
                                                                                  Mileage: 145,276.00
                                                                                  VALUE:                             $2,195.32




                                                                                                         Subtotal (Total of this Page) >              $2,011.00               $0.00
                                                                                                        Total (Use only on last page) >                $2,011.00               $0.00
________________continuation
       No                    sheets attached                                                                                                     (Report also on   (If applicable,
                                                                                                                                                 Summary of        report also on
                                                                                                                                                 Schedules.)       Statistical
                                                                                                                                                                   Summary of
                                                                                                                                                                   Certain Liabilities
                                                                                                                                                                   and Related
                                                                                                                                                                   Data.)
                            Case 12-30840-JKO                   Doc 1       Filed 08/30/12            Page 14 of 40
B6E (Official Form 6E) (04/10)

In re Rigoberto R Montiel                                                                         Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,600* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
                          Case 12-30840-JKO                                 Doc 1                Filed 08/30/12        Page 15 of 40
B6F (Official Form 6F) (12/07)
  In re Rigoberto R Montiel                                                                                         Case No.
                                                                                                                               (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                    CLAIM




                                                                                                                                      CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #: xxxx-xxxx-xxxx-2035                                                           DATE INCURRED:   10/25/2002
                                                                                      CONSIDERATION:
Action Card/bankfirst                                                                 Credit Card                                                           $1.00
POB 105555                                                                            REMARKS:
                                                                  -
Atlanta, GA 30348



ACCT #: xxxxx7785                                                                     DATE INCURRED:   08/2011
                                                                                      CONSIDERATION:
Asset Acceptance Llc                                                                  Collecting for - BANK OF AMERICA                                 $14,313.00
POB 2036                                                                              REMARKS:
                                                                  -
Warren, MI 48090



ACCT #: xxxxx5514                                                                     DATE INCURRED:   11/2011
                                                                                      CONSIDERATION:
Asset Acceptance Llc                                                                  Collecting for - BANK OF AMERICA                                  $6,970.00
POB 2036                                                                              REMARKS:
                                                                  -
Warren, MI 48090



ACCT #: xxxx-xxxx-xxxx-4684                                                           DATE INCURRED:   05/24/2004
                                                                                      CONSIDERATION:
Bank Of America                                                                       Credit Card                                                           $1.00
Attn: Recovery Dept                                                                   REMARKS:
                                                                  -
4161 Peidmont Pkwy.
Greensboro, NC 27410

ACCT #: xxxxxxxxxx9449                                                                DATE INCURRED:   12/05/2006
                                                                                      CONSIDERATION:
Bank Of America                                                                       Line of Credit                                                        $1.00
Attn: Recovery Dept                                                                   REMARKS:
                                                                  -
4161 Peidmont Pkwy.
Greensboro, NC 27410

ACCT #: xxx-xx-9993                                                                   DATE INCURRED:
                                                                                      CONSIDERATION:
Bank Of America                                                                       Credit Card                                                           $1.00
Attn: Recovery Dept                                                                   REMARKS:
                                                                  -
4161 Piedmont Pkwy
Greensboro, NC 27410

                                                                                                                                 Subtotal >             $21,287.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       6                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                            Case 12-30840-JKO                                   Doc 1                Filed 08/30/12        Page 16 of 40
B6F (Official Form 6F) (12/07) - Cont.
  In re Rigoberto R Montiel                                                                                             Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx-xxxx-xxxx-1548                                                               DATE INCURRED:   05/2002
                                                                                          CONSIDERATION:
Cap One Na                                                                                Credit Card                                                         $1.00
Attn: Bky Dept                                                                            REMARKS:
                                                                      -
POB 30285
Salt Lake City, UT 84130

ACCT #: xxxxxxxx0079                                                                      DATE INCURRED:   03/2001
                                                                                          CONSIDERATION:
Chase Bank Usa, Na                                                                        Credit Card                                                         $1.00
Attn: Bky                                                                                 REMARKS:
                                                                      -
POB 15298
Wilmington, DE 19850

ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Chase Bank Usa/Washington Mutual                                                          Credit Card                                                         $1.00
Attn: Bky                                                                                 REMARKS:
                                                                      -
POB 15298
Wilmington, DE 19850

ACCT #: xxxx-xxxx-xxxx-2332                                                               DATE INCURRED:   10/12/2003
                                                                                          CONSIDERATION:
Chase Mht Bk                                                                              Credit Card                                                         $1.00
Attn: Bky                                                                                 REMARKS:
                                                                      -
POB 15298
Wilmington, DE 19850

ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Citibank                                                                                  Credit Card                                                         $1.00
Attn: Centralized Bky                                                                     REMARKS:
                                                                      -
POB 20507
Kansas City, MO 64195

ACCT #: xxxxxxxxxxxx2079                                                                  DATE INCURRED:   01/06/2006
                                                                                          CONSIDERATION:
Citibank Usa                                                                              Credit Card                                                         $1.00
CITICORP CREDIT SVCS/ATTN: CENTRALIZ                                                      REMARKS:
                                                                      -
POB 20363
Kansas City, MO 64195

Sheet no. __________
              1        of __________
                               6     continuation sheets attached to                                                                 Subtotal >                $6.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 12-30840-JKO                                   Doc 1                Filed 08/30/12        Page 17 of 40
B6F (Official Form 6F) (12/07) - Cont.
  In re Rigoberto R Montiel                                                                                             Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx0070                                                                  DATE INCURRED:   10/2007
                                                                                          CONSIDERATION:
Citifinancial                                                                             Personal Loan                                                    $2,169.00
Attn: Bky Dept                                                                            REMARKS:
                                                                      -
POB 140069
Irving, TX 75014

ACCT #: xxxxxxxxxxxx0430                                                                  DATE INCURRED:   09/08/2005
                                                                                          CONSIDERATION:
Citifinancial                                                                             Personal Loan                                                        $1.00
Attn: Bky Dept                                                                            REMARKS:
                                                                      -
POB 140069
Irving, TX 75014

ACCT #: xxxxxxxxxxxx8623                                                                  DATE INCURRED:   05/2006
                                                                                          CONSIDERATION:
Citifinancial                                                                             Personal Loan                                                        $1.00
Attn: Bky Dept                                                                            REMARKS:
                                                                      -
POB 140069
Irving, TX 75014

ACCT #: xxxxxxxxxxxx1790                                                                  DATE INCURRED:   04/05/2007
                                                                                          CONSIDERATION:
Citifinancial                                                                             Personal Loan                                                        $1.00
Attn: Bky Dept                                                                            REMARKS:
                                                                      -
POB 140069
Irving, TX 75014

ACCT #: xxxxx9993                                                                         DATE INCURRED:   02/06/2009
                                                                                          CONSIDERATION:
Eagle Atlant                                                                              Student Loans                                                      $186.00
1 Tower Ln # 1000                                                                         REMARKS:
                                                                      -
Oakbrook Terrace, IL 60181



ACCT #: xxxx6770                                                                          DATE INCURRED:   01/2012
                                                                                          CONSIDERATION:
Enhanced Recovery Corp                                                                    Collecting for - SPRINT                                            $356.00
Attn: Client Svcs                                                                         REMARKS:
                                                                      -
8014 Bayberry Rd
Jacksonville, FL 32256

Sheet no. __________
              2        of __________
                               6     continuation sheets attached to                                                                 Subtotal >             $2,714.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 12-30840-JKO                                   Doc 1                Filed 08/30/12        Page 18 of 40
B6F (Official Form 6F) (12/07) - Cont.
  In re Rigoberto R Montiel                                                                                             Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx7843                                                                          DATE INCURRED:   01/2002
                                                                                          CONSIDERATION:
Ford Cred                                                                                 Security Agreement                                                    $1.00
Ford Credit                                                                               REMARKS:
                                                                      -
POB 6275
Deerborn, MI 48121

ACCT #: xxxxxxxxxxxx8918                                                                  DATE INCURRED:   06/27/2006
                                                                                          CONSIDERATION:
Ge Capital Credit Card                                                                    Credit Card                                                           $1.00
Attn: Bky                                                                                 REMARKS:
                                                                      -
POB 103104
Roswell, GA 30076

ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Honorable Eric Holder                                                                     Notice Only                                                     Notice Only
Attorney General of the United States                                                     REMARKS:
                                                                      -
Dept of Justice #4400
950 Pennsylvania Ave NW
Washington, DC 20530
ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Honorable Jeffrey H. Sloman                                                               Notice Only                                                     Notice Only
United States Attorney                                                                    REMARKS:
                                                                      -
99 NE 4 St
Miami, Fl 33132

ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Internal Revenue Serv                                                                     Notice Only                                                     Notice Only
Compliance Serv Insolvency                                                                REMARKS:
                                                                      -
STOP 5730
7850 SW 6 Ct
Plantation, Fl 33324
ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Internal Revenue Service                                                                  Notice Only                                                     Notice Only
POB 7346                                                                                  REMARKS:
                                                                      -
Philadelphia, PA 19101-7346



Sheet no. __________
              3        of __________
                               6     continuation sheets attached to                                                                 Subtotal >                 $2.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 12-30840-JKO                                   Doc 1                Filed 08/30/12     Page 19 of 40
B6F (Official Form 6F) (12/07) - Cont.
  In re Rigoberto R Montiel                                                                                          Case No.
                                                                                                                                 (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                   CLAIM




                                                                                                                                         CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
JFK Florida Hospital                                                                      Medical bills                                                       $1.00
5301 S. Congress Ave.                                                                     REMARKS:
                                                                      -
Atlantis, FL 33462



ACCT #: xxxxxx3302                                                                        DATE INCURRED:   06/2011
                                                                                          CONSIDERATION:
Midland Funding                                                                           Collecting for - CITIBANK SOUTH DAKOTA N.A.                     $6,907.00
8875 Aero Dr # 200                                                                        REMARKS:
                                                                      -
San Diego, CA 92123



ACCT #: xxxxxx5765                                                                        DATE INCURRED:   06/2011
                                                                                          CONSIDERATION:
Midland Funding                                                                           Collecting for - CHASE BANK USA N.A.                            $2,103.00
8875 Aero Dr # 200                                                                        REMARKS:
                                                                      -
San Diego, CA 92123



ACCT #: xxxxxx3261                                                                        DATE INCURRED:   06/2011
                                                                                          CONSIDERATION:
Midland Funding                                                                           Collecting for - CITIBANK SOUTH DAKOTA N.A.                     $1,264.00
8875 Aero Dr # 200                                                                        REMARKS:
                                                                      -
San Diego, CA 92123



ACCT #: xxxx6263                                                                          DATE INCURRED:   03/2012
                                                                                          CONSIDERATION:
NCO                                                                                       Collecting for - JFK MEDICAL CENTER                             $8,561.00
2703 N Highway 75                                                                         REMARKS:
                                                                      -
Sherman, TX 75091



ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Radio Shack                                                                               Credit Card                                                         $1.00
Attn: Centralized Bky                                                                     REMARKS:
                                                                      -
POB 20363
Kansas City, MO 64195

Sheet no. __________
              4        of __________
                               6     continuation sheets attached to                                                               Subtotal >             $18,837.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 12-30840-JKO                                   Doc 1                Filed 08/30/12      Page 20 of 40
B6F (Official Form 6F) (12/07) - Cont.
  In re Rigoberto R Montiel                                                                                           Case No.
                                                                                                                                 (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                          DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                            INCURRED AND                                 CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                       CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                 CLAIM.
             (See instructions above.)                                                                IF CLAIM IS SUBJECT TO
                                                                                                         SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx4367                                                                  DATE INCURRED:   08/2002
                                                                                          CONSIDERATION:
Rshk/cbsd                                                                                 Credit Card                                                     $1,084.00
Attn.: Citi Centralized Bky                                                               REMARKS:
                                                                      -
POB 20363
Kansas City, MO 64195

ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Special Assistant United States Attorney                                                  Notice Only                                                   Notice Only
c/o Internal Revenue Serv. Area Counsel                                                   REMARKS:
                                                                      -
Claude Pepper Federal Bldg.
51 SW 1 Ave #1114
Miami, Fl 33130
ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Special Asst US Attorney                                                                  Notice Only                                                   Notice Only
c/o IRS Area Counsel                                                                      REMARKS:
                                                                      -
1000 S Pine Island Rd #300
Plantation, Fl 33324

ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Sprint                                                                                    Cellular bill                                                       $1.00
KSOPHT0101-Z4300                                                                          REMARKS:
                                                                      -
6391 Sprint Pkwy
Overland Park, KS 66251-4300

ACCT #: xxx-xx-9993                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
T-Mobile                                                                                  Cellular bill                                                       $1.00
Attn: Bky Team                                                                            REMARKS:
                                                                      -
POB 53410
Bellevue, WA 98015-3410

ACCT #: xxxx0511                                                                          DATE INCURRED:   01/2012
                                                                                          CONSIDERATION:
West Asset Management                                                                     Collecting for - T-MOBILE                                        $860.00
Attn: Bky                                                                                 REMARKS:
                                                                      -
2703 North Highway 75
Sherman, TX 75090

Sheet no. __________
              5        of __________
                               6     continuation sheets attached to                                                               Subtotal >              $1,946.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 12-30840-JKO                                   Doc 1                Filed 08/30/12     Page 21 of 40
B6F (Official Form 6F) (12/07) - Cont.
  In re Rigoberto R Montiel                                                                                          Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxx7748                                                                   DATE INCURRED:   08/2005
                                                                                          CONSIDERATION:
World Omni F                                                                              Security Agreement                                                $1.00
6150 Omni Park Dr.                                                                        REMARKS:
                                                                      -
Mobile, AL 36609-5195




Sheet no. __________
              6        of __________
                               6     continuation sheets attached to                                                              Subtotal >                 $1.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                     $44,793.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 12-30840-JKO            Doc 1       Filed 08/30/12         Page 22 of 40
B6G (Official Form 6G) (12/07)
   In re Rigoberto R Montiel                                                            Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
                             Case 12-30840-JKO                  Doc 1        Filed 08/30/12            Page 23 of 40
B6H (Official Form 6H) (12/07)
In re Rigoberto R Montiel                                                                          Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
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B6I (Official Form 6I) (12/07)
In re Rigoberto R Montiel                                                                        Case No.
                                                                                                                     (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s):                 Age(s):             Relationship(s):                            Age(s):
           Divorced




 Employment:                      Debtor                                                     Spouse
 Occupation                      Driver/Ind Contractor
 Name of Employer                CMM Logistics
 How Long Employed               8 Months
 Address of Employer             2428 Michigan Ave, K
                                 Kissimmee, FL 34744

INCOME: (Estimate of average or projected monthly income at time case filed)                                      DEBTOR                    SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                       $0.00
2. Estimate monthly overtime                                                                                        $0.00
3. SUBTOTAL                                                                                                          $0.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                     $0.00
   b. Social Security Tax                                                                                            $0.00
   c. Medicare                                                                                                       $0.00
   d. Insurance                                                                                                      $0.00
   e. Union dues                                                                                                     $0.00
   f. Retirement                                                                                                     $0.00
   g. Other (Specify)                                                                                                $0.00
   h. Other (Specify)                                                                                                $0.00
   i. Other (Specify)                                                                                                $0.00
   j. Other (Specify)                                                                                                $0.00
   k. Other (Specify)                                                                                                $0.00
5.    SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                 $0.00
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                                $0.00
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                      $3,342.06
8.  Income from real property                                                                                       $0.00
9.  Interest and dividends                                                                                          $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                          $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                     $0.00
12. Pension or retirement income                                                                                     $0.00
13. Other monthly income (Specify):
      a.                                                                                                             $0.00
      b.                                                                                                             $0.00
      c.                                                                                                             $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                              $3,342.06
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $3,342.06
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                  $3,342.06
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.
                            Case 12-30840-JKO                 Doc 1        Filed 08/30/12          Page 25 of 40
B6J (Official Form 6J) (12/07)
  IN RE: Rigoberto R Montiel                                                                    Case No.
                                                                                                                   (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                       $600.00
    a. Are real estate taxes included?           Yes         No
    b. Is property insurance included?           Yes         No

 2. Utilities: a. Electricity and heating fuel
               b. Water and sewer
               c. Telephone                                                                                                                  $146.51
               d. Other: Cable
 3. Home maintenance (repairs and upkeep)
 4. Food                                                                                                                                     $800.00
 5. Clothing                                                                                                                                  $50.00
 6. Laundry and dry cleaning                                                                                                                  $40.00
 7. Medical and dental expenses                                                                                                               $60.00
 8. Transportation (not including car payments)                                                                                              $450.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          $50.00
 10. Charitable contributions                                                                                                                 $40.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life
           c. Health
           d. Auto                                                                                                                           $141.13
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)                                                                   $334.21
 Specify: Self-Employment Taxes
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto: Car Payment                                                                                                            $257.00
             b. Other:
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other: Contribution to debtor's elderly Mother (Honduras)                                                                             $300.00
 17.b. Other: Sunpass.                                                                                                                        $30.00
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                $3,298.85
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                     $3,342.06
 b. Average monthly expenses from Line 18 above                                                                                           $3,298.85
 c. Monthly net income (a. minus b.)                                                                                                         $43.21
                            Case 12-30840-JKO             Doc 1   Filed 08/30/12           Page 26 of 40
B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                 FORT LAUDERDALE DIVISION
   In re Rigoberto R Montiel                                                         Case No.

                                                                                     Chapter      7



                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                        $0.00


 B - Personal Property                           Yes      5                   $4,678.45


 C - Property Claimed                            Yes      1
     as Exempt
 D - Creditors Holding                           Yes      1                                            $2,011.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      1                                                $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      7                                           $44,793.00
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                  $3,342.06
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      1                                                                  $3,298.85
    Individual Debtor(s)

                                             TOTAL        20                   $4,678.45              $46,804.00
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Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                FORT LAUDERDALE DIVISION
   In re Rigoberto R Montiel                                                          Case No.

                                                                                      Chapter       7



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:
 Average Income (from Schedule I, Line 16)                                     $3,342.06

 Average Expenses (from Schedule J, Line 18)                                   $3,298.85

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $3,342.06

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                  $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                           $44,793.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $44,793.00
                          Case 12-30840-JKO              Doc 1      Filed 08/30/12         Page 28 of 40
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Rigoberto R Montiel                                                              Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 22
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 8/30/2012                                               Signature    /s/ Rigoberto R Montiel
                                                                         Rigoberto R Montiel

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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B7 (Official Form 7) (04/10)                    UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                     FORT LAUDERDALE DIVISION
   In re:   Rigoberto R Montiel                                                                      Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $20,052.37                  2012 Estimated YTD Income

        $8,132.00                   2011 Income Tax Return

        $9,935.00                   2010 Income Tax Return

        $11,015.00                  2009 Income Tax Return

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                    FORT LAUDERDALE DIVISION
   In re:   Rigoberto R Montiel                                                                    Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 1



None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Law Offices of Patrick L. Cordero, P.A.                       08/2012                          $1,150.00 Plus $306.00 Filing
        198 NW 37th Avenue                                                                             Fees
        Miami, FL 33125

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
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B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                    FORT LAUDERDALE DIVISION
   In re:   Rigoberto R Montiel                                                                    Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
                                                                      TYPE OF ACCOUNT, LAST FOUR
                                                                      DIGITS OF ACCOUNT NUMBER,                 AMOUNT AND DATE OF
        NAME AND ADDRESS OF INSTITUTION                               AND AMOUNT OF FINAL BALANCE               SALE OR CLOSING
        Wells Fargo Bank, NA                                          Checking account No: 4594                 $0.00
        POB 6995                                                      $0.00                                     12/27/2011
        Portland, OR 97228

       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
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B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                     FORT LAUDERDALE DIVISION
   In re:   Rigoberto R Montiel                                                                     Case No.
                                                                                                                            (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOCIAL-SECURITY OR OTHER INDIVIDUAL                                                                         BEGINNING AND ENDING
        TAXPAYER-I.D. NO. (ITIN) / COMPLETE EIN                      NATURE OF BUSINESS                             DATES

        MONTIEL CORP                                                 Painting and maintains                         Date Filed 02/06/2007
        1522 N 24 Ave #8                                                                                            Date Closed
        Hollywood, FL 33020                                                                                         03/13/2008
        XXX-XX-9993

None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
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B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                     FORT LAUDERDALE DIVISION
   In re:   Rigoberto R Montiel                                                                       Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within two years immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
       of this case.


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
       preceding the commencement of this case.
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B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                     FORT LAUDERDALE DIVISION
   In re:   Rigoberto R Montiel                                                                       Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within six years immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.
Date 8/30/2012                                                          Signature          /s/ Rigoberto R Montiel
                                                                        of Debtor          Rigoberto R Montiel

Date                                                                    Signature
                                                                        of Joint Debtor
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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  B 8 (Official Form 8) (12/08)

                                                UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF FLORIDA
                                                    FORT LAUDERDALE DIVISION
  IN RE:     Rigoberto R Montiel                                                               CASE NO

                                                                                               CHAPTER       7

                        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                                   Describe Property Securing Debt:
 World Omni F                                                                       2005 Toyota Corolla
 POB 91614
 Mobile, AL 36691
 xxxxxxxxxxx0717




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.       1
 Lessor's Name:                                                Describe Leased Property:                         Lease will be Assumed pursuant to
 None                                                                                                            11 U.S.C. § 365(p)(2):

                                                                                                                 YES              NO




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 8/30/2012                                                       Signature     /s/ Rigoberto R Montiel
                                                                                  Rigoberto R Montiel




Date                                                                 Signature
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                                       SOUTHERN DISTRICT OF FLORIDA
                                          FORT LAUDERDALE DIVISION
  IN RE:   Rigoberto R Montiel                                                      CASE NO

                                                                                   CHAPTER      7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 8/30/2012                                           Signature    /s/ Rigoberto R Montiel
                                                                     Rigoberto R Montiel



Date                                                     Signature
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             Action Card/bankfirst
             POB 105555
             Atlanta, GA 30348

             Asset Acceptance Llc
             POB 2036
             Warren, MI 48090

             Bank Of America
             Attn: Recovery Dept
             4161 Peidmont Pkwy.

             Bank Of America
             Attn: Recovery Dept
             4161 Piedmont Pkwy

             Cap One Na
             Attn: Bky Dept
             POB 30285

             Chase Bank Usa, Na
             Attn: Bky
             POB 15298

             Chase Bank Usa/Washington Mutual
             Attn: Bky
             POB 15298

             Chase Mht Bk
             Attn: Bky
             POB 15298

             Citibank
             Attn: Centralized Bky
             POB 20507
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             Citibank Usa
             CITICORP CREDIT SVCS/ATTN: CENTRALIZ
             POB 20363

             Citifinancial
             Attn: Bky Dept
             POB 140069

             Eagle Atlant
             1 Tower Ln # 1000
             Oakbrook Terrace, IL 60181

             Enhanced Recovery Corp
             Attn: Client Svcs
             8014 Bayberry Rd

             Ford Cred
             Ford Credit
             POB 6275

             Ge Capital Credit Card
             Attn: Bky
             POB 103104

             Honorable Eric Holder
             Attorney General of the United States
             Dept of Justice #4400

             Honorable Jeffrey H. Sloman
             United States Attorney
             99 NE 4 St

             Internal Revenue Serv
             Compliance Serv Insolvency
             STOP 5730
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             Internal Revenue Service
             POB 7346
             Philadelphia, PA 19101-7346

             JFK Florida Hospital
             5301 S. Congress Ave.
             Atlantis, FL 33462

             Midland Funding
             8875 Aero Dr # 200
             San Diego, CA 92123

             NCO
             2703 N Highway 75
             Sherman, TX 75091

             Radio Shack
             Attn: Centralized Bky
             POB 20363

             Rshk/cbsd
             Attn.: Citi Centralized Bky
             POB 20363

             Special Assistant United States Attorney
             c/o Internal Revenue Serv. Area Counsel
             Claude Pepper Federal Bldg.

             Special Asst US Attorney
             c/o IRS Area Counsel
             1000 S Pine Island Rd #300

             Sprint
             KSOPHT0101-Z4300
             6391 Sprint Pkwy
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             T-Mobile
             Attn: Bky Team
             POB 53410

             West Asset Management
             Attn: Bky
             2703 North Highway 75

             World Omni F
             6150 Omni Park Dr.
             Mobile, AL 36609-5195

             World Omni F
             POB 91614
             Mobile, AL 36691
